Case 1:18-cr-00039-WES-LDA Document 59 Filed 01/04/21 Page 1 of 13 PageID #: 1125



                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF RHODE ISLAND
  ___________________________________
                                      )
  UNITED STATES OF AMERICA,           )
                                      )
            v.                        )    Cr. No. 18-039 WES
                                      )
  BILLIE R. SCHOFIELD,                )
                                      )
                 Defendant.           )
  ___________________________________)

                       CORRECTED MEMORANDUM AND ORDER

        Defendant Billie R. Schofield, now pro se, is scheduled for

  sentencing in several days.         He has brought a flurry of motions,

  after parting ways with his court-appointed counsel, in an effort

  to derail this proceeding, undo his plea of guilty, and disqualify

  the   undersigned.      The     motions     are   largely   nonsensical,   and

  uniformly without merit.        They are all denied for the reasons set

  forth below.

        Defendant brings five motions (“Defendant’s motions”) before

  this Court: a Motion to “Notice Ineffective Counsel” (“Motion to

  Notice”), ECF No. 49; a Motion to Set an Evidentiary Hearing and/or

  Sanction the Assistant United States Attorneys Sandra R. Hebert

  and   Christopher    Paul     O’Donnell 1   (“Motion   for   Hearing   and/or

  Sanctions”), ECF No. 50; a Motion to Recuse this Court (“Motion to

  Recuse”), ECF No. 51; a Motion to Withdraw a Guilty Plea and


        1For ease of reference, Assistant United States Attorneys
  Sandra R. Hebert and Christopher Paul O’Donnell are hereinafter
  referred to as “the Government.”
Case 1:18-cr-00039-WES-LDA Document 59 Filed 01/04/21 Page 2 of 13 PageID #: 1126



  Dismiss Case (“Motion to Withdraw Guilty Plea”), ECF No. 52; and

  a Motion to Appoint Counsel and Stay the Proceedings (“Motion to

  Appoint Counsel”), ECF No. 53.                As the basis for all five motions,

  Defendant alleges essentially the same underlying claim: that this

  Court,    Defendant’s          former    counsel,     George    J.     West,    and    the

  Government are all engaged in a covert effort to cover up a vast

  Internal Revenue Service (“IRS”) document falsification scheme,

  the    evidence        of     which     would    apparently      prove       Defendant’s

  innocence.

         References in Defendant’s pro se motions and interactions

  with this Court indicate that he is a “sovereign citizen”, albeit

  one with a slightly different script than a typical sovereign

  citizen’s     more      outright        rejection     of     statutes,      rules,    and

  regulations applying to all litigants.                   See, e.g., Mot. to Recuse

  10-11 (referencing “falsified government records”, referring to

  this     Court    as        “Mr.   Smith”,      and   stating       that    this     Court

  “fabricate[d] a pretended [sic] ‘duty to the court’” held by all

  attorneys); see also United States v. Williams, No. CR419-089,

  2020 WL 762540, at *3 (S.D. Ga. Feb. 14, 2020) (describing typical

  sovereign citizen behavior in court proceedings).                          Courts across

  this   country    have        routinely       rejected     sovereign    citizen      legal

  theories     as   “frivolous”           and     observed     that    defendants       will

  frequently file “lots of rambling, verbose motions” to “delay the

  proceedings, create unnecessary work for the Court and counsel,
Case 1:18-cr-00039-WES-LDA Document 59 Filed 01/04/21 Page 3 of 13 PageID #: 1127



  and distract the Court from adjudication of the case on its

  merits.”    Williams, 2020 WL 762540, at *3 (quoting United States

  v. Perkins, No. 1:10–cr–97–1–JEC–LTW, 2013 WL 3820716, at *1-2

  (N.D. Ga. July 23, 2013)); see also Linge v. State of Georgia Inc.,

  569 F. App’x 895, 896 (11th Cir. 2014) (rejecting such theories as

  “wholly    unsubstantial      and   frivolous”    (citation    and   quotations

  omitted)); United States v. Sterling, 738 F.3d 228, 233 n.1 (11th

  Cir. 2013) (stating that courts routinely reject sovereign citizen

  legal theories as “frivolous” (citation omitted)); United States

  v. Benabe, 654 F.3d 753, 767 (7th Cir. 2011) (recommending that

  sovereign citizen theories “be rejected summarily, however they

  are presented”); Roach v. Arrisi, No. 8:15–cv–2547–T–33AEP, 2016

  WL 8943290, at *2 (M.D. Fla. 2016) (noting that sovereign citizen

  theories    have    been   consistently    rejected    by     the    courts   and

  described as “utterly frivolous,” “patently ludicrous,” and “a

  waste of . . . the court’s time, which is being paid for by hard-

  earned     tax     dollars”    (citation    and     quotations       omitted)).

  Defendant’s claims are similarly facially baseless, frivolous, and

  inflammatory.

        The Court will take each motion briefly in turn; but none

  require much discussion.

  I.   Motion to “Notice Ineffective Counsel”

        In this “notice,” which this Court construes as a motion for

  ineffective assistance of counsel, Defendant argues that that his
Case 1:18-cr-00039-WES-LDA Document 59 Filed 01/04/21 Page 4 of 13 PageID #: 1128



  former attorney, Mr. West, provided him with ineffective counsel

  because he “refused to conscientiously study the evidence” of the

  IRS document falsification scheme and has “colluded” with this

  Court to “obstruct justice and the presentation of evidence proving

  [Defendant’s] innocence.”       Mot. to Notice 3.

        The Court may consider a motion for ineffective assistance of

  counsel prior to sentencing.      See United States v. Ortiz-Vega, 860

  F.3d 20, 30 (1st Cir. 2017).            To succeed on an ineffective

  assistance of counsel claim, a defendant must show deficient

  performance by counsel and resulting prejudice.         See United States

  v. Rodriguez, 675 F.3d 48, 56 (1st Cir. 2012) (citing Strickland

  v. Washington, 466 U.S. 668, 687 (1984)).

        A counsel’s performance is “deficient” if the representation

  “fell below an objective standard of reasonableness.”          Strickland,

  466 U.S. at 688.      There is a “strong presumption that counsel’s

  conduct falls within the wide range of reasonable professional

  assistance[.]”     Id. at 689; see also Knight v. Spencer, 447 F.3d

  6, 15 (1st Cir. 2006) (stating that a lawyer’s performance is

  deficient “only where, given the facts known at the time, counsel’s

  ‘choice was so patently unreasonable that no competent attorney

  would have made it’” (quoting Strickland, 466 U.S. at 693-94)).

  To meet the requirement of resulting prejudice, a defendant must

  demonstrate a reasonable probability that the proceeding’s result

  would have been different absent the counsel’s deficient conduct.
Case 1:18-cr-00039-WES-LDA Document 59 Filed 01/04/21 Page 5 of 13 PageID #: 1129



  See Tevlin v. Spencer, 621 F.3d 59, 66 (1st Cir. 2010).            Further,

  “[a] defendant’s failure to satisfy one prong of the Strickland

  analysis obviates the need for a court to consider the remaining

  prong.”   Id. (citing Strickland, 466 U.S. at 697).

        Defendant has not met the Strickland standard here.                The

  examples of correspondence that Defendant provides between himself

  and Mr. West demonstrate that counsel appropriately considered and

  responded to Defendant’s questions and assertions.           See generally

  Ex. A to Mot. to Notice, ECF No. 49-1.       Defendant even acknowledges

  in his brief that counsel concluded after research that the case

  law does not support Defendant’s assertions.           See Mot. to Notice

  5.    That Defendant is upset with his counsel’s refusal to file

  meritless motions about a purported scheme does not equate to

  ineffective assistance.       See United States v. Francois, 715 F.3d

  21, 28-29 (1st Cir. 2013).

        Defendant’s Motion to Notice Ineffective Counsel, ECF No. 49,

  is DENIED.

  II.   Motion to Set an Evidentiary Hearing and/or Sanction

        In this motion, Defendant demands that this Court set an

  evidentiary hearing at which the Government would answer questions

  “concerning the IRS record falsification program[.]”              Mot. for

  Hr’g 5.    If the Government were to “refuse to provide this court

  benefit for their expert opinion [sic] [,]” Defendant requests

  that this Court sanction these attorneys by dismissing the charges
Case 1:18-cr-00039-WES-LDA Document 59 Filed 01/04/21 Page 6 of 13 PageID #: 1130



  against      him.    Id.      Defendant    lists   approximately     two   dozen

  questions for the Government to answer, such as: “Were IRS IMF

  records concerning me and every year in question manipulated to

  reflect existence of documents that don’t exist, and events that

  never     happened?”;      “Are    such     manipulations      the   standard,

  institutionalized process by which [the] IRS initiates civil and

  criminal prosecutions of targeted nontaxpayers?”; and “In their

  opinion, do the falsified IRS IMF records concerning me offer

  extremely strong circumstantial evidence of my actual innocence,

  since    I    owe   nothing   to   the    Treasury,   absent   falsified     IRS

  records?”.      Id. at 3-5.

          Not surprisingly, Defendant cites no law to support his demand

  for an evidentiary hearing in order to question the Government.

  To state the obvious, a defendant is not entitled to demand an

  evidentiary hearing wherein he may question prosecutors at will,

  particularly at a time just before his sentencing, based solely on

  his unsupported conspiracy theory.           Defendant’s Motion for Hearing

  and/or Sanctions, ECF No. 50, is DENIED.

  III.     Motion to Recuse

          In this motion, Defendant again alleges that this Court and

  Mr. West have secretly colluded to obstruct Defendant’s defense of

  the purported IRS document falsification scheme.                See generally

  Mot. to Recuse.       Pursuant to 28 U.S.C. § 455(a), “[a]ny justice,

  judge or magistrate of the United States shall disqualify himself
Case 1:18-cr-00039-WES-LDA Document 59 Filed 01/04/21 Page 7 of 13 PageID #: 1131



  in any proceeding in which his impartiality might reasonably be

  questioned.”        The statute “seeks to balance two competing policy

  considerations: first, that ‘courts must not only be, but seem to

  be, free of bias or prejudice,’ . . . and second, the fear that

  recusal on demand would provide litigants with a veto against

  unwanted judges[.]”         In re Boston’s Children First, 244 F.3d 164,

  167 (1st Cir. 2001) (quoting In re United States, 158 F.3d 26, 30

  (1st Cir. 1998)).          Disqualification is “appropriate only when the

  charge is supported by a factual basis, and when the facts asserted

  ‘provide what an objective, knowledgeable member of the public

  would find to be a reasonable basis for doubting the judge’s

  impartiality.’”       Id. (quoting In re United States, 666 F.3d 690,

  695 (1st Cir. 1981)).

        There    is     no    factual   basis   for   disqualification   here.

  Defendant claims that the statements made by this Court and by Mr.

  West during two proceedings held on December 3, 2020 and December

  17, 2020 (“the hearings”) to hear Mr. West’s Motion to Withdraw,

  ECF No. 40, demonstrate that this Court and Mr. West are secretly

  colluding to obstruct the fairness of these proceedings:

        Any impartial observer, watching the Honorable Judge
        fabricate a pretended “duty” for his mute fellow
        attorney, as colorable justification for the mum
        attorney’s refusal to advise his client of the merits of
        a proposed plausible defense, could VERY reasonably
        question Mr. Smith’s impartiality in this case.
Case 1:18-cr-00039-WES-LDA Document 59 Filed 01/04/21 Page 8 of 13 PageID #: 1132



  Mot. to Recuse 7 (emphasis in the original).                  Defendant construes

  this Court’s explanation of an attorney’s obligations to follow

  the Professional Rules of Responsibility as evidence of this

  Court’s efforts to obstruct potential defenses:

         Mr. West NEVER stated to me that he had a “duty to comply
         with the rules that govern practice in courts”, which
         Judge Smith fabricated then held to supposedly preclude
         West from presenting a vigorous defense based on the
         evidence I have uncovered of the institutionalized IRS
         record falsification program.

  Id. at 6 (emphasis in the original).                 Defendant’s statements are

  facially baseless and this Court’s statements and rulings in the

  hearings speak for themselves.            All of the Court’s statements were

  made in an effort to ensure that Defendant understood that Mr.

  West   was    attempting       to    vigorously      represent      him   while    also

  following the Professional Rules of Responsibility, and to comply

  with the requirements of Faretta.              See Faretta v. California, 422

  U.S.   806,     835   (1975)    (stating      that   the    court    must    advise   a

  defendant       “of    the     dangers        and    disadvantages          of    self-

  representation, so that the record will establish that he knows

  what he is doing and his choice is made with eyes open” (quotations

  and citation omitted)); see also United States v. Jones, 778 F.3d

  375, 388-89 (1st Cir. 2015) (outlining Faretta requirements). None

  of the Court’s statements amount to judicial bias or partiality.

  See    Liteky    v.   United        States,   510    U.S.    540,    555-56      (1994)

  (“[O]pinions formed by the judge on the basis of facts introduced
Case 1:18-cr-00039-WES-LDA Document 59 Filed 01/04/21 Page 9 of 13 PageID #: 1133



  or events occurring in the course of the current proceedings, or

  of prior proceedings, do not constitute a basis for a bias or

  partiality motion unless they display a deep-seated favoritism or

  antagonism     that    would    make    fair   judgment     impossible.”).

  Defendant’s Motion to Recuse, ECF No. 51, is DENIED.

  IV.   Motion to Withdraw Guilty Plea and Dismiss Case

        In this motion, Defendant argues that he should be allowed to

  withdraw his guilty plea, which was entered over a year and a half

  ago in April 2019.      See Plea Agreement, ECF No. 24.        A defendant

  is not automatically entitled to withdraw his guilty plea once

  entered.     United States v. Caramadre, 957 F. Supp. 2d 160, 165

  (D.R.I. 2013) (citing United States v. Gates, 709 F.3d, 68 (1st

  Cir. 2013)).       Under Rule 11 of the Federal Rules of Criminal

  Procedure, “the Court may, in its discretion, allow a defendant to

  withdraw his plea only if a ‘fair and just’ reason exists.”              Id.

  (citing    Fed.   R.   Crim.   P.   11(d)(2)(B))   (additional    citations

  omitted).    The defendant has the burden to establish this fair and

  just reason.      United States v. Marrero-Rivera, 124 F.3d 342, 347

  (1st Cir. 1997).

        While “[t]here is no exclusive list of reasons that might

  allow withdrawal of a plea . . . a primary concern is whether the

  original guilty plea was knowing, intelligent and voluntary[.]”

  United States v. Aker, 181 F.3d 167, 170 (1st Cir. 1999) (citations

  omitted); see also Caramadre, 957 F. Supp. 3d at 166 (same).          Other
Case 1:18-cr-00039-WES-LDA Document 59 Filed 01/04/21 Page 10 of 13 PageID #: 1134



  potential factors include “the plausibility and weight of the

  reason given for the withdrawal, the timing of the request, whether

  the defendant is now colorably asserting legal innocence, and

  whether the original plea was pursuant to a plea agreement (and

  thus, in the usual case, gained something for the defendant).”

  Aker, 181 F.3d at 170 (citation omitted).

        As the basis for this fair and just reason, Defendant states

  that after entering his guilty plea he “learned the IRS is running

  the largest falsification program in the history of this Nation,

  which the DoJ uses the fruit thereof, and conceals.”                Mot. to

  Withdraw Guilty Plea 3.       According to Defendant, the evidence of

  this scheme proves he had “no duty to file” his taxes and is

  innocent.    Id. at 7.    In support of his claims, Defendant provides

  various declarations from himself and an individual named Robert

  A. McNeil, as well as personal tax documents and excerpts from an

  IRS   training   manual   with    periodic   notations,   ostensibly    from

  Defendant, explaining how various standardized codes and headings

  demonstrate this scheme.         See generally Exs. to Mot. to Withdraw

  Guilty Plea, ECF Nos. 52-2 to 52-7.          At every turn, Defendant’s

  supposed “evidence” is rife with conclusory statements and devoid

  of any genuine facts.       Merely stating that a scheme is afoot and

  then inventing alternative meanings for the statements in written

  documents does not make it so.         Defendant has not met his burden
Case 1:18-cr-00039-WES-LDA Document 59 Filed 01/04/21 Page 11 of 13 PageID #: 1135



  of a fair and just reason to withdraw his plea, and his claim of

  actual innocence is not colorable.

        Defendant’s Motion to Withdraw a Guilty Plea and Dismiss, ECF

  No. 52, is DENIED.

  V.    Motion to Appoint Counsel and Stay Proceedings

        In     this        motion,       Defendant          seeks      appointment      of

  “temporary/provisional” counsel, not to guide him through the

  sentencing phase of these proceedings or assist him with filing

  motions, but rather to advise him whether “the documentation

  provided to [him] by the [IRS, which he believes] prove[s] the

  existence     of    an    institutionalized            IRS     record    falsification

  program,”    could       have    an    impact    “on    this      case   and   the   plea

  agreement” and “prove[ his] actual innocence.”                       Mot. to Appoint

  Counsel 2.

        Although criminal defendants have a fundamental right to

  counsel, “the right of an indigent criminal defendant to demand

  new   appointed     counsel       is    not     unlimited.         ‘[I]n   appropriate

  circumstances, a trial court may force a defendant to choose

  between     proceeding      to     trial      with   an      unwanted    attorney    and

  representing himself.’”            United States v. Francois, 715 F.3d 21,

  28 (1st Cir. 2013) (quoting United States v. Proctor, 166 F.3d

  396, 402 (1st Cir. 1999)).              An attorney is not obligated to file

  a meritless motion merely because his client demands it.                              See

  United States v. Woodard, 291 F.3d 95, 108 (1st Cir. 2002).
Case 1:18-cr-00039-WES-LDA Document 59 Filed 01/04/21 Page 12 of 13 PageID #: 1136



  Rather, “[i]t is the obligation of any lawyer — whether privately

  retained or publicly appointed — not to clog the courts with

  frivolous motions or appeals.”         Polk County v. Dodson, 454 U.S.

  312, 323 (1981).

        As stated before, Defendant’s claims of an IRS document

  falsification scheme are baseless, and his claims of collusion

  between Mr. West, the Government, and this Court are inflammatory

  and nonsensical.      Defendant does not have a right to demand new

  counsel simply because he is frustrated that his previous counsel

  did not file meritless motions. Defendant chose to proceed without

  Mr. West’s assistance, which led to Mr. West’s withdrawal from the

  case.     See Minute Entry of Proceedings from December 17, 2020.

  Although the Court has appointed Mr. West as stand-by counsel,

  Defendant makes this request for a new attorney mere weeks before

  his sentencing, after informing this Court that he wanted to

  proceed pro se.       Defendant seeks to delay these proceedings by

  seeking new counsel to pursue a baseless conspiracy theory that

  will provide him no recourse. 2      This Court refuses to allow him to

  abuse the judicial process in this manner.          Defendant’s Motion to

  Appoint Counsel is DENIED.




        2Defendant is apparently well-versed in using motions like
  these to cause delays in proceedings. In his previous criminal
  proceeding, he had four attorneys, two CJA-appointed and two
  privately retained. See United States v. Schofield, No. 1:12-cr-
  00082-JJM-LDA (D.R.I.).
Case 1:18-cr-00039-WES-LDA Document 59 Filed 01/04/21 Page 13 of 13 PageID #: 1137



  VI.    Conclusion

        Defendant’s motions are meritless and constitute an obvious

  attempt to delay and obstruct the judicial process.           There will be

  no changes to the dates for, and no stay of, the scheduled

  sentencing.     The following motions are DENIED: Motion to Notice,

  ECF No. 49; Motion for Hearing and/or Sanctions, ECF No. 50; Motion

  to Recuse, ECF No. 51; Motion to Withdraw Guilty Plea, ECF No. 52;

  and Motion to Appoint Counsel, ECF No. 53.



  IT IS SO ORDERED.




  William E. Smith
  District Judge
  Date: January 4, 2021
